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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )             Case No. 8:12CR125
                      Plaintiff,              )
                                              )
       vs.                                    )
                                              )                    ORDER
EDUARDO NAVARRETE-SANCHEZ                     )
and, MARIEL MAVARRETE-FIMBRES,                )
                                              )
                      Defendants.             )

       This matter is before the court on the motion of Jose De Jesus Macias-Valles,
material witness, to Take Deposition In Lieu of Live Testimony and Release of Material
Release (#87). After reviewing the brief in support of the Motion to Take Deposition (#87-1)
and the government's Response (#96), I find the material witness' motion should be
granted, and I order the government to take the deposition of the material witness on or
before May 21, 2012, and that upon completion of the deposition, the material witness
should be released. If the deposition is not taken on or before May 21, 2012 the material
witness shall be released from custody as a material witness, on May 22, 2012, without
further order of this court.
       IT IS ORDERED:
       1. The material witness' Motion to Take Deposition In Lieu of Live Testimony and
Release of Material Witness (#87) is granted.
       2. Said deposition shall occur on or before May 21, 2012, or the material witness
shall be released from custody without further order of the court on May 22, 2012.
       Dated this 3rd day of May 2012.

                                          BY THE COURT:


                                          S/ F.A. Gossett, III
                                          United States Magistrate Judge
